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 7                              IN THE UNITED STATES DISTRICT COURT

 8                          FOR THE NORTHERN DISTRICT OF CALIFORNIA

 9   UNITED STATES OF AMERICA,                                )   CR-20-480 WHA
                                                              )
10                                Plaintiff,                  )   SECOND SUPPLEMENTAL
                                                              )   SENTENCING MEMORANDUM
11            v.                                              )   OF DEFENDANT
                                                              )   PAMELA CARRERO
12   PAMELA CARRERO,                                          )
                                                              )   Date: February 22, 2022
13                              Defendant.                    )   Time: 2:00 p.m.
                                                              )
14                                                                HON. WILLIAM H. ALSUP

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16                 I.     Background

17                 At the second sentencing hearing on February 15, 2022, the defense continued to raise the
18   issue of collateral consequences that Defendant Pamela Carrero will suffer, to wit: the expected

19   termination of parental rights to her 3 year old son due to her incarceration. The Court had a number of

20   questions: (1) the operation of the existing ICE deportation order, and whether or not it could be

21   suspended while Pamela was placed in a half-way house to allow for her to maintain her parental rights

22   over her 3 year old son; (2) if ICE did not immediately enforce the deportation order, what services

23   would CPS permit in the half-way house; (3) would this opportunity allow for a reevaluation of the

24   current recommendation of the Alameda County Family Court LCSW, to wit: that parental rights be

25   terminated and that her son be placed up for adoption.

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 1                II.     Argument

 2                The effect of the ICE deportation order cannot be delayed in a manner that will allow Ms.

 3   Carrero any meaningful benefit in her parental rights case. It can be challenged by a claim for asylum,

 4   for example, but that would require Ms. Carrero to fight the deportation order from a ICE detention

 5   facility somewhere outside the Bay Area, or to be more accurate, wherever ICE placed her. Any attempt

 6   to delay her ultimate deportation would provide no real opportunity for Ms. Carrero to reunify with her

 7   child.

 8                Assuming that the order for deportation is not challenged with an asylum claim, for

 9   example, and Pamela cannot stay in this Country, the only chance she has is to cooperate with family

10   services in Honduras, and showing progress in her reunification with her child by actively participating,

11   by Zoom and otherwise, in the reunification plan. If Pamela is incarcerated, she stands virtually no

12   chance of reunification, and will have her parental rights terminated.

13                The government has represented that an order for deportation already exists for Pamela,

14   therefore, the Court cannot order Pamela released to a half-way house, or similar situation. Since that

15   is the case, the issue of collateral consequences – losing her child -- remains a virtual certainty. The

16   current recommendation is that the Alameda Court terminate parental rights and place Pamela’s child

17   up for adoption. That plan will not change while Pamela remains in the custody of either BOP or ICE.
18   The Court should sentence Ms. Carrero to time served.

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20                                                               HALLINAN & WINE

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22   Dated: February 15, 2022                                    /s/ Kenneth Wine
                                                                 Kenneth H. Wine
23                                                               Attorney for Defendant
                                                                 PAMELA CARRERO
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